       Case 3:11-cr-00024-MCR       Document 74       Filed 06/16/11    Page 1 of 5



                                                                                Page 1 of 5

                        UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                      Case No. 3:11cr24/MCR

TELLY J. HILL, a/k/a “Tally,”
ERICK D. SMITH, a/k/a “Tator,”
and ISMAEL A. RODRIGUES,

     Defendants.
__________________________/

                                         ORDER

       Defendant Erik D. Smith (“Smith”) is charged in a five count indictment (doc. 54) as
follows: (a) Count One - conspiracy to traffic cocaine, (b) Count Two - use of a firearm in
furtherance of a drug trafficking offense, (c) Count Three - possession of a firearm by a
convicted felon, and (d) Counts Four & Five - money laundering. Smith has filed a motion
to sever Count Three of the indictment from his other charges (doc. 44) and an objection
to the Government’s 404(b) evidence (doc. 45). Both motions essentially seek the same
remedy – exclusion of Smith’s two prior convictions for Possession of Cocaine. The
Government opposes the motions (doc. 50). Having reviewed the record and considered
the parties’ arguments, the court determines that both motions are due to be denied.
Severance of Count Three
       Pursuant to Rule 8(a) of the Federal Rules of Criminal Procedure, two or more
offenses can be charged and tried together when the offenses: (1) are of the same or
similar character; (2) are based on the same act or transaction; or (3) are connected with
or constitute parts of a common scheme or plan. Fed. R. Crim. Proc. 8(a). The Rule is
construed “broadly in favor of initial joinder.” United States v. Walser, 3 F.3d 380, 385

Case No. 3:11cr24/MCR
       Case 3:11-cr-00024-MCR         Document 74       Filed 06/16/11     Page 2 of 5



                                                                                    Page 2 of 5

(11th Cir. 1993). When it appears that a defendant is prejudiced by the joinder of offenses,
the court may grant a severance, Fed. R. Crim. Proc. 14, but severance is “not required
merely because defendant's chances for acquittal would have been better if he had been
tried in a separate trial on one count,” United States v. Kabbaby, 672 F.2d 857, 861 (11th
Cir. 1982). In deciding the issue of severance, the “trial judge [is] required to balance the
prejudice to the defendant against the interests of judicial economy,” United States v. Benz,
740 F.2d 903, 911 (11th Cir. 1984), cert. denied, 474 U.S. 817 (1985). Moreover,
severance is justified as a remedy only if the prejudice is clearly beyond the curative
powers of a cautionary instruction. United States v. Baker, 432 F.3d 1189, 1236-37 (11th
Cir. 2005), cert. denied, 547 U.S. 1085 (2006).
       Smith moves to sever Count Three, arguing that the initial joinder requirements of
Rule 8(a) are not met, and that unfair prejudice will result from joinder because the jury will
unduly emphasize his prior criminal activity. The court disagrees. All of the counts are
sufficiently related for joinder. Count Three charges Smith with possession of a firearm by
a convicted felon, on or about April 14, 2011. As the Government explains, “[Smith] is
charged in Count Two with possessing a firearm in furtherance of the drug trafficking
offense in Count One, during the same time frame.” (Doc. 50, at 4.) Furthermore, Smith’s
unfair prejudice argument fails because, as discussed in Section B, infra, evidence of
Smith’s prior criminal activity would be admissible for Counts One and Two regardless of
whether Count Three was severed. See United States v. Gabay, 923 F.2d 1536, 1540
(11th Cir. 1991). Therefore, the court concludes that severance of Count Three is not
warranted.
Admission of Fed. R. Evid. 404(b) Materials
       Under Rule 404(b) of the Federal Rules of Evidence, a court may admit evidence
of other crimes, wrongs, or acts when used to prove, inter alia, motive, opportunity, intent,
preparation, plan, knowledge, identity, or absence of mistake or accident. Fed. R. Evid.
404(b). The Eleventh Circuit has articulated a three part test to determine whether
extrinsic evidence of a prior act is admissible under Rule 404(b): (1) the evidence must be
relevant to an issue other than the defendant’s character, (2) there must be sufficient proof

Case No. 3:11cr24/MCR
       Case 3:11-cr-00024-MCR          Document 74       Filed 06/16/11     Page 3 of 5



                                                                                     Page 3 of 5

to permit a jury finding that the defendant committed the extrinsic act, and (3) the probative
value of the evidence must not be substantially outweighed by its undue prejudice. United
States v. Matthews, 431 F.3d 1296, 1310-11 (11th Cir. 2005), cert. denied, 549 U.S. 811
(2006). The third requirement comes directly from Federal Rule of Evidence 403, which
states, “relevant evidence may be excluded if its probative value is substantially
outweighed by the danger of unfair prejudice,” Fed. R. Evid. 403. However, the remedy
of exclusion pursuant to Rule 403 is an extraordinary one, to be invoked sparingly, and the
balance ordinarily “should be struck in favor of admissibility.” United States v. Dodds, 347
F.3d 893, 897 (11th Cir. 2003) (internal marks omitted). Rule 403 requires the court to
consider all of the circumstances, including the Government’s need for the evidence, the
overall similarity between the extrinsic act and the charged offense, and the temporal
remoteness of the prior act. United States v. Jernigan, 341 F.3d 1273, 1282 (11th Cir.
2003). In reviewing issues under Rule 403, “we look at the evidence in a light most
favorable to its admission, maximizing its probative value and minimizing its undue
prejudicial impact.” U.S. v. Tinoco, 304 F.3d 1088, 1120 (11th Cir. 2002), cert. denied,
538 U.S. 909 (2003).
       There is “[a]mple precedent . . . in this circuit finding that a not guilty plea in a drug
conspiracy case . . . makes intent a material issue and opens the door to admission of prior
drug-related offenses as highly probative, and not overly prejudicial, evidence of a
defendant’s intent.” United States v. Calderon, 127 F.3d 1314, 1332 (11th Cir. 1997), cert.
denied, 523 U.S. 1033 (1998); see also United States v. Edouard, 485 F.3d 1324, 1345
(11th Cir. 2007); Matthews, 431 F.3d at 1311; United States v. Cardenas, 895 F.2d 1338,
1342 (11th Cir. 1990). This is true even when the prior conviction is many years old. See
United States v. Lampley, 68 F.3d 1296, 1300 (11th Cir. 1995) (finding admissible
evidence of approximately 15 year old marijuana dealings); United States v. Pollock, 926
F.2d 1044, 1048 (11th Cir.) (noting that courts have upheld the admission of rule 404(b)
evidence that “occurred ten and thirteen years earlier than the charged offense”), cert.
denied, 502 U.S. 985 (1991); see also Matthews, 431 F.3d at 1311 (stating that the



Case No. 3:11cr24/MCR
       Case 3:11-cr-00024-MCR         Document 74       Filed 06/16/11     Page 4 of 5



                                                                                    Page 4 of 5

Eleventh Circuit “has refrained from adopting a bright-line rule with respect to temporal
proximity because decisions as to impermissible remoteness are so fact-specific that a
generally applicable litmus test would be of dubious value” (internal marks omitted)).
Furthermore, the Eleventh Circuit has explicitly held that evidence regarding the prior
possession of illegal drugs is admissible at a subsequent distribution/conspiracy trial. See
United States v. Butler, 102 F.3d 1191, 1196 (11th Cir.), cert. denied, 520 U.S. 1219
(1997); see also Matthews, 431 F.3d at 1318 (Tjoflat concurring) (noting that under 11th
Circuit precedent there is a presumption that “virtually all prior drug offenses are relevant
and almost automatically admissible in all drug conspiracy cases”).
       Smith contends that evidence of his prior convictions for Possession of Cocaine are
in no way relevant to his current charges. However, the Government has indicated that the
evidence will be used in order to prove knowing intent, and, as Calderon makes clear, a
not guilty plea in a drug conspiracy case makes intent a material issue and opens the door
to admission of prior drug-related offenses as highly probative evidence of the defendant’s
intent. 127 F.3d at 1332. Additionally, it is important to note that the prior convictions were
for possession of cocaine – the same drug involved in the instant conspiracy. See United
States v. Green, 40 F.3d 1167, 1174 (11th Cir. 1994), cert. denied, 514 U.S. 1089 (1995).
Finally, although Smith’s prior convictions occurred approximately six and ten years before
the start of the alleged conspiracy, in light of Eleventh Circuit precedent, the court
concludes that the prior convictions are not too temporally remote to be sufficiently
probative. See Lampley, 68 F.3d at1300 (finding admissible evidence of approximately 15
year old marijuana dealings); Pollock, 926 F.2d at 1048 (noting that courts have upheld the
admission of rule 404(b) evidence that “occurred ten and thirteen years earlier than the
charged offense”).
       Smith also argues that, “because the case against him is arguably weak, . . . should
the evidence be admitted, the prejudice will clearly outweigh any probative value.” (Doc.
45, at 3.) The court has been directed to no authority that supports the proposition that a




Case No. 3:11cr24/MCR
        Case 3:11-cr-00024-MCR                 Document 74         Filed 06/16/11         Page 5 of 5



                                                                                                     Page 5 of 5

weak case justifies the exclusion of 404(b) evidence.1 To the contrary, the weaker the
government’s case, the stronger the argument is for admitting the evidence. See Pollock,
926 F.2d at 1049 (explaining that if “the Government has a strong case on the intent issue,
the extrinsic offense may add little and consequently will be excluded more readily”). Thus,
the court concludes that the probative value of the evidence of the prior felony drug
convictions is not substantially outweighed by prejudice to Smith.
        For the foregoing reasons, it is hereby ORDERED that Defendant’s motion to sever
Count Three (doc. 44) and his motion to exclude evidence of prior convictions (doc. 45) are
DENIED.
        DONE AND ORDERED on this 16th day of June, 2011.




                                                      s/   M. Casey Rodgers
                                                     M. CASEY RODGERS
                                                     United States District Judge




        1
            For support, the defense cites United States v. Gonzalez, 2011 W L 200136 (11th Cir. 2011), petition
for cert. filed (U.S. Apr. 24, 2011) (No. 10-10288), which m erely explains that when there is overwhelm ing
evidence of guilt, appellate courts need not decide whether the district court abused its discretion in adm itting
404(b) evidence. Defense also cites United States v. Larios-Trujillo, 403 Fed.Appx. 442 (11th Cir. 2010), and
United States v. Darling, 396 Fed.Appx. 607 (11th Cir. 2010), neither of which addresses the issue of prior
convictions under 404(b).


Case No. 3:11cr24/MCR
